     Case 2:19-cr-00047-RAJ-LRL Document 294-3 Filed 11/10/21 Page 1 of 1 PageID# 3241


Yusi, Elizabeth (USAVAE)

From:                 Lindsay McCaslin <Lindsay_McCaslin@fd.org>
Sent:                 Monday, October 25, 2021 10:49 AM
To:                   Yusi, Elizabeth (USAVAE); Andrew Grindrod
Cc:                   O'Boyle, Melissa (USAVAE); Bosse, Andrew (USAVAE)
Subject:              [EXTERNAL] RE: Alcorn et al Depositions


We understand that you want to file today. At this time, we don’t have a position for you to represent yet.

Lindsay J. McCaslin
Assistant Federal Public Defender
150 Boush Street, Suite 403
Norfolk, VA 23510
(757)457‐0829

From: Yusi, Elizabeth (USAVAE) <Elizabeth.Yusi@usdoj.gov>
Sent: Monday, October 25, 2021 9:40 AM
To: Lindsay McCaslin <Lindsay_McCaslin@fd.org>; Andrew Grindrod <Andrew_Grindrod@fd.org>
Cc: O'Boyle, Melissa (USAVAE) <Melissa.OBoyle@usdoj.gov>; Bosse, Andrew (USAVAE) <Andrew.Bosse@usdoj.gov>
Subject: Alcorn et al Depositions

Lindsay and Andrew‐

We plan to file the motion for Rule 15 depositions later today‐ do you have an answer we can proffer to the court
regarding your position? If you can please let us know by 1pm today, we would appreciate it.

Thanks‐

Elizabeth "Beth" Yusi
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U.S. Attorney's Office
  for the Eastern District of Virginia
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